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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES—GENERAL

   Case No.      5:21-cv-00147-DMG-SHK                                   Date: November 4, 2021
   Title: Ada Maria Benson v. Angel View Clearance Center, et al.



  Present: The Honorable Shashi H. Kewalramani, United States Magistrate Judge

                 D. Castellanos                                          Not Reported
                 Deputy Clerk                                            Court Reporter

      Attorney(s) Present for Plaintiff(s):                  Attorney(s) Present for Defendant(s):
                 None Present                                             None Present

  Proceedings (IN CHAMBERS): FINAL ORDER TO SHOW CAUSE

          On October 28, 2021, the Court received Plaintiff Ada Maria Benson’s (“Plaintiff”)
  Response (“Response”). Electronic Case Filing Number (“ECF No.”) 14. Plaintiff’s Response
  appears to address the Court’s Order Dismissing First Amended Complaint Without Prejudice
  and with Leave to Amend (“ODLA”) filed on October 5, 2021. ECF No. 13. The ODLA
  required Plaintiff to file a Second Amended Complaint (“SAC”), if Plaintiff desired to do so, or
  to advise the Court that Plaintiff intended to rely on the allegations in the First Amended
  Complaint (“FAC”) by October 26, 2021. Id.

          Rather than filing a SAC or notifying the Court that Plaintiff intended to rely on the
  allegations in the FAC, Plaintiff is claiming that the District Court does not have jurisdiction
  over her case because it is pending before the United States Court of Appeals for the Ninth
  Circuit (“Ninth Circuit”). See, ECF No. 14 at 2. However, on August 13, 2021, the Ninth
  Circuit issued its Order dismissing Plaintiff’s appeal for lack of jurisdiction, ECF No. 11, and on
  September 7, 2021 the Ninth Circuit issued a Mandate, formally effectuating its August 13, 2021
  dismissal. ECF No. 12. Therefore, jurisdiction over the matter returned to this District Court.

          Consequently, Plaintiff will be given one final opportunity to comply with the Court’s
  ODLA. Plaintiff is ORDERED TO SHOW CAUSE no later than November 18, 2021 and either
  (a) advise the Court that Plaintiff does not desire to pursue this action; (b) if Plaintiff does desire
  to pursue this action, Plaintiff must show good cause in writing, if any exists, why Plaintiff has
  not timely filed with the Court a SAC or notified the Court that Plaintiff wishes to rest on the
  allegations in the FAC and why Plaintiff failed to comply with the Court’s prior Order; or (c) file
  a SAC or notify the Court that Plaintiff intends to rely on the allegations in the FAC.


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          Plaintiff is forewarned that if Plaintiff fails to move forward with any of the options
  listed above, the Court may deem such failure as a further violation of a Court order
  justifying dismissal, and the Court may also deem such a failure as further evidence of a
  lack of prosecution on Plaintiff’s part.

          IT IS SO ORDERED.




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